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                                 Exhibit E
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    From:           Brown, Andrew (USACAC)
    To:             Nina Marino
    Cc:             Jennifer Lieser
    Subject:        RE: USPV box #224
    Date:           Wednesday, December 8, 2021 2:36:52 PM


   Nina:

   While in the past I have tried to help you out even when it was not my case, I will no longer do that.

   My involvement with USPV is limited to criminal matters. There is no criminal matter I am aware of
   involving that box.

   Best regards,

   Andrew Brown │ Assistant United States Attorney │ Major Frauds Section
   U.S. Attorney’s Office Room 1149 │ 312 N. Spring St. │ Los Angeles, CA 90012
   Tel: 213-894-0102 │ Fax: 213-894-6269 │ Andrew.Brown@USDOJ.gov

   From: Nina Marino <Marino@kaplanmarino.com>
   Sent: Wednesday, December 8, 2021 2:03 PM
   To: Brown, Andrew (USACAC) <ABrown3@usa.doj.gov>
   Cc: Katzenstein, Ranee (USACAC) <RKatzenstein@usa.doj.gov>; Jennifer Lieser
   <Lieser@kaplanmarino.com>
   Subject: [EXTERNAL] USPV box #224

   Andrew,

   I am writing to request a copy of the video inventory and photos for box #224. We have spoken with
   Victor Rodgers and he indicates he has no knowledge of the factual background. As you know from
   our letter to you dated June 14, 2021, our clients, Donald and Margarita Mellein, stored cash, a gold
   bar, 110 gold coins, and paperwork in their box at USPV.

   The contents of box #224, the inventory of which only reflected the cash, gold bar, and paperwork,
   were originally identified as subject to forfeiture in the May 24, 2021 notice. Thereafter, the
   contents of box #224 were removed from the forfeiture list, and the cash, gold bar, and some
   paperwork was returned by the FBI to our custody. We were impliedly advised this was all there was
   to return. We are now advised, only after filing a lawsuit, that the FBI has 47 gold coins belonging to
   our client and that these coins will be returned.

   We are requesting your production of the video inventory and photos so we can ascertain what
   happened during the inventory such that the FBI did not acknowledge any gold coins until now, and
   to determine what happened to the remaining 73 gold coins. We very much appreciate your
   cooperation in our efforts to determine what has happened in connection with the search and
   seizure of Box 224, pursuant to the warrant executed in connection with your investigation of USPV.
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   I will await your reply.


   NINA MARINO



    marino@kaplanmarino.com
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    LOS ANGELES I CA I 90046
    310-557-0007 I FAX 310-861-1776
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